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                    APPENDIX A
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                                  List of Amici Curiae
300degrees PLLC
Advocate Law Group P.C.
Ajamie LLP
Aldous Law
Ali & Lockwood LLP
ALR Civil Rights LLC
Alto Litigation
Altshuler Berzon LLP
Anapol Weiss
Anderson & Kreiger LLP
Andrus Anderson LLP
Andrus Wagstaff, PC
Arete Law Group PLLC
Arguedas, Cassman, Headley & Goldman LLP
Armond Wilson LLP
Arnold & Porter
Arrowood LLP
Arshack, Hajek & Lehrman, PLLC
Ascheman Law
Aviso Legal Group LLP
Aylstock, Witkin, Kreis and Overholtz, PLLC
Bailey & Glasser, LLP
Banashek Irving & McNutt, LLP
Bangos Law Firm, P.A.
Bangs, McCullen, Butler, Foye & Simmons, LLP
Bantle & Levy LLP
Barrientos PC
Baughman Kroup Bosse PLLC
Beale, Micheaels, Slack & Shughart, P.C.
Bedell, Dittmar, DeVault, Pillans & Coxe, P. A.
Beeman & Muchmore, LLP
Berger Montague PC
Berman Tabacco
Bernstein & Gordon LLP
Beveridge & Diamond, P.C.
Binder & Schwartz LLP
Bird, Marella, Rhow, Lincenberg, Drooks & Nessim, LLP
Birrell Law Firm PLLC
BLL LLP
Bloom Law PLLC
Blumberg Law Corporation
Bondurant, Mixson & Elmore
Botkin Chiarello Calaf PLLC
Bradley Bernstein Sands LLP
Brandt Law, PLLC

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BraunHagey & Borden LLP
Breskin Johnson & Townsend
Brian L. Tannebaum, P.A.
Broadband Legal Strategies, LLC
BrotmanLaw, PLLC
Brown, Goldstein & Levy, LLP
Bryan Schwartz Law, P.C.
Burgess Law PC
Cade Law Group LLC
Caffrey Hill, PLLC
Caldwell LLP
Cannon & Dunphy
Caplan Cobb LLC
Casey Gerry Francavilla Blatt LLP
Charhon Callahan Robson & Garza, PLLC
Charles J. Kettlewell LLC
Charles S. Tusa PLLC
Ciresi Conlin LLP
Civil Rights Litigation Group, PLLC
Clapp, Moroney, Vucinich, Beeman + Scheley
Clarick Gueron Reisbaum LLP
Clark Smith Villazor LLP
Clarke Johnston Thorp & Rice, PPC
Clayman Rosenberg Kirshner & Linder LLP
Clean Energy Counsel, LLP
Clifford Law Offices, P.C.
Clinton & Peed
Coast Law Group, LLP
Coblentz Patch Duffy & Bass LLP
Cochran Law Group
Cohen Hirsch LP
Cohen Milstein Sellers & Toll PLLC
Cohen Williams LLP
Colantuono, Highsmith & Whatley
Commins, Knudsen & Chou
Complex Appellate Litigation Group LLP
Conrad | Metlitzky | Kane LLP
Coogan Gallagher
Coopers LLP
Coppersmith Brockelman PLC
Corr Cronin LLP
Cotchett, Pitre & McCarthy, LLP
Covington & Burling LLP
Cowan DeBaets Abrahams & Sheppard LLP
Crain Brogdon, LLP
Creative Criminal Defense Consultants

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Crowell & Moring LLP
Cultural Heritage Partners, PLLC
Cummins & Cummins, LLP
Curcio Law, PLLC
Daar & Newman, a Professional Law Corporation
Dardarian Ho Kan & Lee
David Corbett PLLC
Davis Graham & Stubbs LLP
Davis Levin Livingston
Davis Wright Tremaine LLP
DEH Law, PLLC
Deutsch Hunt PLLC
DMC Law, LLC
Donahue, Goldberg & Herzog
Dorsay & Easton LLP
Doyle Dennis Avery LLP
Dreher Law Firm
Dreyer Babich Buccola Wood Campora, LLP
Eagle Team LLP
Edelson PC
EDGE, A Professional Law Corporation
Edward R. Shaw P.A.
Ehrlich & Craig LLP
Eimer Stahl LLP
Emery Celli Brinckerhoff Abady Ward & Maazel LLP
Equity Litigation Group LLP
Eric Maxfield Law, LLC
Esler Stephens & Buckley LLP
Estes Law Group
Ezkovich & Co., LLC
Faraci Lange, LLP
Farella Braun + Martel LLP
Faughnan Law, PLLC
Feinberg, Jackson, Worthman & Wasow LLP
Fenwick & West LLP
Finkel Law Group P.C.
Fisher Taubenfeld LLP
Foley Hoag
Folger Levin LLP
Forsgren Fisher McCalmont DeMarea Tysver LLP
Fox & Robertson, PC
Frank Freed Subit & Thomas
Frankel PLLC
Frankfurt Kurnit Klein & Selz
Freedman Boyd Hollander & Goldberg P.A.
FreelandLaw LLP

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Freshfields US LLP
Friedemann Goldberg Wargo Hess LLP
Friedman | Rubin, PLLP
Gainey Law, PLLC
Gair Gair Conason Rubinowitz Bloom Hershenhorn Steigman & Mackauf
Galiher DeRobertis & Waxman LLP
Gallagher Evelius & Jones LLP
Garland, Samuel & Loeb, P.C.
Garmey Law
Getman, Sweeney & Dunn, PLLC
Gibbs Mura LLP
Gingras, Thomsen & Wachs, LLP
Girard Sharp LLP
Gish PLLC
Giskan Solotaroff & Anderson LLP
Glaser Weil Fink Howard Jordan & Shapiro LLP
Gleason, Dunn, Walsh & O’Shea
Glenn Agre Bergman & Fuentes LLP
Glenn F. Hardy PC
Goodley McCarthy LLC
Gordon Thomas Honeywell Law
Gordon Tilden Thomas & Cordell LLP
GrahamHollis, APC
Grant & Eisenhofer, P.A.
Graves, Dougherty, Hearon & Moody, P.C.
Green & Willstatter
Greenblatt Law LLC
Greene Broillet & Wheeler, LLP
Greene Espel PLLP
Greenspun Shapiro Ginsberg & Yang PC
Groombridge, Wu, Baughman and Stone LLP
Gross & Belsky PC
Grossman LLP
Grossman Roth Yaffa Cohen
Gupta Wessler LLP
Gustafson Gluek, PLLC
GVR Partners LLP
Haddon Morgan & Foreman, P.C.
Hagens Berman Sobol Shapiro LLP
Hanson Bridgett LLP
Hanson Crawford Crum Family Law Group, LLP
Hanusz Law, PC
Harris St. Laurent & Wechsler LLP
Hausfeld LLP
Hecker Fink LLP
Hepworth Holzer, LLP

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Hinman Legal PC
Hirschfeld Kraemer LLP
HKM Employment Attorneys LLP
Holland, Holland Edwards & Grosmman, LLC
Holmes Costin & Marcus PLLC
Holwell Shuster & Goldberg LLP
Hoq Law APC
Houlding Law PC
Hughes Socol Piers Resnick & Dym, Ltd.
Hutchinson, Black and Cook, LLC
Hykel Law, LLC
Iliff, Meredith, Wildberger & Brennan, PC
Incline Law Group, LLP
Interlaken Law Group, PLLC
J. Cantor Law
Jacobs & Schlesinger LLP
James D. Leach Attorney
James D. Taylor, P.C.
James Ellis Arden
Jassy Vick Carolan LLP
Jenner & Block LLP
John A. Yannis, Attorney at Law
John Vail Law PLLC
Johnson & Klein Law
Justice Law Collaborative LLC
Kaiser PLLC
Kaplan Gore LLP
Kaplan Kirsch LLP
Kaplan Law Firm, PLLC
Kaplan Martin LLP
Katz Banks Kumin LLP
Kaufman Lieb Lebowitz & Frick
KBM Law
Keker, Van Nest & Peters LLP
Keller Benvenutti Kim LLP
Keller Grover LLP
Keller Rohrback LLP
Kendall Brill & Kelly LLP
Kenneth P. Tableman, P.C.
Kevin Kohls PLC
Kibler Fowler & Cave LLP
Kieve Law Offices
Killmer Lane, LLP
Kingfisher Law APC
KKL LLP
Kline & Specter, PC

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KO Law PC
Kohn, Kohn & Colapinto, LLP
Koskoff Koskoff & Bieder, PC
Kosloski Law, PLLC
KoslynLaw
Koss Firm APC
Kostelanetz LLP
Kramon & Graham, P.A.
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Kreindler & Associates
Krevolin & Horst, LLC
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Kropf Moseley Schmitt
Kuras Legal, PLC
Kwall Barack Nadeau PLLC
Kwun Bhansali Lazarus LLP
Laminack, Pirtle & Martines LLP
Lamitie Law LLC
Langer, Grogan & Diver, P.C.
Langrock Sperry & Wool, LLP
Lansner & Kubitschek
Lauren H. Berkowitz, Attorney at Law, PLLC
Law Forward, Inc.
Law Office of Alexis Haller, P.C.
Law Office of Anya Goldstein
Law Office of Dan Roth
Law Office of Diane K. Vaillancourt
Law Office of Gail Shifman
Law Office of Ihsan Dogramaci PLLC
Law Office of John D. Cline
Law Office of Lisa C. Lambert
Law Office of Matthew Stiegler
Law Office of Nanci Clarence
Law Office of Rebecca E. Ary
Law Office of Richard J. Davis
Law Office of Sara Azari
Law Office of Stephen Chahn Lee, LLC
Law Office of Susan F. Zinder, PLLC
Law Office of Susan Mindenbergs
Law Offices of Alex J. Higgins
Law Offices of Andrew Marks PLLC
Law Offices of Arthur Thomas Donato
Law Offices of David M. Zeff
Law Offices of Evan A. Jenness
Law Offices of Greg Rosenfeld, P.A.
Law Offices of Gregory S. Smith

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Law Offices of Jonathan G Stein
Law Offices of Karen A. Klein
Law Offices of Laurel Stuart-Fink, PLLC
Law Offices of Richard M. Steingard
Law Offices of Robert D. Richman LLC
Law Offices of Steven B. Piser
Law Offices of Thomas Schneck
LeGrand Law PLLC
Leichtman Law PLLC
Lerch, Early & Brewer
Leung Law PLLC
Leventhal Puga Braley PC
Levi Merrithew Horst PC
Levine Lee LLP
Lewis & Lin, LLC
Lewis Baach Kaufmann Middlemiss
Libby Hoopes Brooks & Mulvey, P.C.
Lieff Cabraser Heimann & Bernstein, LLP
Lisa Cahill PLLC
Littlepage Booth
Livelihood Law, LLC
Lockridge Grindal Nauen PLLP
Loevy & Loevy
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Marshall & Saunders, P.S.
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Massey & Gail LLP
McDowell Rackner Gibson PC
McGillivary Steele Elkin LLP
McGuinn, Hillsman & Palefsky
McHugh Law, PLLC
McNaul Ebel Nawrot & Helgren PLLC
Mehri & Skalet, PLLC
Melnik Legal
Michael A Jacobson, PS Inc.
Michael Broad
Miller Korzenik Sommers Rayman LLP

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Miller Nash LLP
Miller Shakman Levine & Feldman LLP
Miner Barnhill & Galland, PC
Monchamp Meldrum LLP
Moses & Moses, P.C.
Moskowitz Colson Ginsberg & Schulman
Motley Rice LLC
Moya Law Firm
Munger, Tolles, & Olson LLP
Munley Law PC
Nace Law Group
Nachawati Law Group PLLC
Neal, Gerber & Eisenberg LLP
Neill Schwerin Boxerman, P.C.
Nelson & Fraenkel LLP
Newman McNulty
Nichols Kaster, PLLP
Northern Justice Project, LLC
Ogborn Mihm, LLP
Olson Grimsley Kawanabe Hinchcliff & Murray LLC
O'Malley & Madden, P.C.
Orange Law Offices, P.C.
Orsus Gate LLP
Outten & Golden LLP
Pacific Northwest Law LLP
Pacifica Law Group LLP
Paradigm Counsel LLP
Paradise Law Group, PC
Parker Lipman LLP
Parker Pohl LLP
Pashman Stein Walder Hayden, P.C.
Patterson Belknap Webb & Tyler LLP
Paul H. Stevenson Law Offices
Peiffer Wolf Carr Kane Conway & Wise, LLP
Perdue & Kidd LLP
Persyn Law & Policy
Peter L. Conway, P.C.
Petrillo Klein + Boxer LLP
Pfeiffer Rudolf LLC
Phillips & Paolicelli
Pierson Ferdinand LLP
Podhurst Orseck, P.A.
Pope McGlamry, P.C.
Price Law, LLC
Purchase, George & Murphey, P.C.
Rafferty Domnick Cunningham Yaffa

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Rathod Mohamedbhai LLC
REH Legal
Reitler Kailas & Rosenblatt LLP
Rekhi and Wolk
Relman Colfax PLLC
Richards Carrington, LLC
Ritz Clark & Ben-Asher LLP
Riviera Law and Mediation
Rizio, Lipinsky, Heiting PC
Robbins LLP
Roberts Disability Law, P.C.
Rogers Joseph O'Donnell
Romanucci & Blandin, LLC
Rosen Bien Galvan & Grunfeld LLP
Rosenberg Martin Greenberg, LLP
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Ruiz & Smart LLP
Russ Perisho, PLLC
Russell & Woofter LLC
Salahi PC
Sall Spencer Callas & Krueger, ALC
Salvatore Prescott Porter & Porter, PLLC
Salvi, Schostok & Pritchard P.C.
Sandler Reiff Lamb Rosenstein & Birkenstock, PC
Sanger, Hanley, Sanger & Avila, LLP
Sarafa Law PLLC
Scale LLP
Schindler Cohen & Hochman LLP
Schroeter, Goldmark & Bender, P.S.
Schwabe, Williamson & Wyatt, P.C.
Searcy Denney Scarola Barnhart & Shipley, P.A.
Seeskin Law LLC
Segal & Amos, PLLC
Selendy Gay PLLC
Sentner Safran LLP
Sercarz & Riopelle, LLP
Serpe LLC
Shades of Gray Law Group, P.C.
Shaheen & Gordon
Sharp Law Firm, P.A.
Shartsis Friese LLP
Sher Tremonte LLP
Shinder Cantor Lerner LLP
Shishido Taren Goldsworthy PLLC
Shreefer Law Firm, LLC

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Shute, Mihaly & Weinberger LLP
Sideman & Bancroft
Sitara Human Rights Law
Slater Legal PLLC
Smith & Marjanovic Law LLC
Smith LaCien LLP
Smith Mullin, P.C.
Smith Partners PLLP
Solow, PLLC
Spark Justice Law LLC
Spear Wilderman, P.C.
Spera Law Group, LLC
Sperling Kenny Nachwalter, LLC
Spertus, Landes & Josephs, LLP
Spiegel & McDiarmid LLP
Stapleton Segal Cochran LLC
Stenberg Law, PLLC
Sterne, Kessler, Goldstein & Fox PLLC
Steven Toff Law & Consulting, PLLC
Stoel Rives
Strehorn, Ryan & Hoose
Stulberg & Walsh, LLP
Sunstein LLP
Susman Godfrey L.L.P.
Tabitha Myers Law PLLC (Midtown Law)
Taus, Cebulash & Landau, LLP
Terrell Marshall Law Group PLLC
Terris, Pravlik & Millian, LLP
The Advani Law Firm
The Banks Law Firm, P.A.
The Basile Law Firm
The Coopersmith Law Firm, LLP
The deRubertis Law Firm, APC
The Employment Law Group, PC
The Fierberg National Law Group, PLLC
The Haggard Law Firm
The Josh Greenberg Law Firm PLLC
The Krudys Law Firm, PLC
The Law Office of Barry M. Wolf
The Law Office of Christy O'Connor
The Law Office of Deborah M. Golden (Golden Law)
The Law Office of Marlo P. Cadeddu, P.C.
The Law Office of Stephen Wade Nebgen, PLLC
The Law Offices of Eric J. Moutz, LLC
The Law Offices of John Burton
The Law Offices of Mark P. Zimmett

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The Law Offices of Peter Swarth
The Law Offices of Seth P. Chazin
The Maddox Firm LLC
The Norton Law Firm PC
The Paer Law Group, APC
The Prinz Law Firm, P.C.
The Rossman Firm LLC
The Schaps Law Office, A.P.C.
The Soto Law Office, LLC
Thede Culpepper Moore Munro & Silliman LLP
Thomas Law LLC
Tim Lyons Law, PLLC
Tin Fulton Walker & Owen, PLLC
Todd & Weld LLP
Tonkon Torp LLP
Torgan Cooper & Aaron
Trine Law Firm LLC
Trister, Ross, Schadler & Gold, PLLC
Untiedt Dabdoub, PLLC
VANAMAN GERMAN LLP
Victor M. Glasberg & Associates
VII & IX, A Professional Law Corporation
Vinick Hyams LLP
Visible Law LLC
Vladeck, Raskin & Clark, PC
Vodde IP, PLLC
Volin Employment Law, PLLC
Walden Macht Haran & Williams LLP
Walkup Melodia Kelly & Schoenberger
Wallen Law PC
Wang Hecker LLP
Washington Employment Benefits Advocates, PLLC
Waters Kraus Paul & Siegel
Weddle Law PLLC
Weissman & Mintz LLC
Weitz & Luxenberg, P.C.
Whistleblower Partners LLP
White & Stradley, PLLC
Wiggin and Dana LLP
Wilkinson Stekloff
Willenson Law, LLC
William D. Shapiro Law, Inc.
Williams Oinonen LLC
Wilmer Cutler Pickering Hale and Dorr LLP
Wilson Turner Kosmo LLP
Win on the Papers LLC

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Windy City Trial Group
Winebrake & Santillo, LLC
Wolf & Oxley PLLC
Woodside Counsel, P.C.
Work/Environment Law Group
Yetter Coleman LLP
Yow PC
Zalkind Duncan & Bernstein LLP
Zimmer, Citron & Clarke LLP
Zimmerman Reed LLP
Zitrin Law Office
Zukerman Gore Brandeis & Crossman, LLP
ZwillGen PLLC




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